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                           UNITED STATES DISTRICT COURT
                                 DISTRICT OF UTAH


  JIM CURRY, et. al., individually and on behalf of
  all others similarly situated,
                       Plaintiffs,                    AMENDED SCHEDULING ORDER
         v.
                                                      Case No. 2:22-cv-00651-JNP-DBP
  MRS. FIELDS GIFTS, LLC,
                                                      District Judge Jill N. Parrish
                       Defendant.                     Magistrate Judge Dustin B. Pead



        Upon review, the Court GRANTS the parties’ Stipulated Motion for Amended

 Scheduling Order (ECF No. 62.) and amends the scheduling order as follows:

  Event                                                        Date
  FACT DISCOVERY
  Deadline to serve written discovery                          10/28/2024
  Deadline for fact discovery to close                         11/26/2024
  Deadline for supplementation of disclosures and responses 11/26/2024
  under Fed. R. Civ. P. 26(e)
  AMENDMENTS OF PLEADINGS AND JOINING OF PARTIES
  Plaintiffs to file a motion to file amendment pleadings      8/1/2024
  Defendant to file a motion to file amendment pleadings       8/1/2024
  Plaintiffs to file a motion to join additional parties       8/1/2024
  Defendant to file a motion to file amendment pleadings       8/1/2024
  Plaintiffs to file a motion to join additional parties       8/1/2024
  Defendant to file a motion to join additional parties
  EXPERT DISCOVERY
  Plaintiffs’ notice of designation required by DUCivR 26- 10/7/2024
  1(a)(2)
  Defendant’s notice of designation required by DUCivR 26- 11/7/2024
  1(a)(2) –
  Plaintiffs’ Fed. R. Civ. P. 26(a)(2) disclosures and reports 10/7/2024
  Defendant’s Fed. R. Civ. P. 26(a)(2) disclosures and reports 11/7/2024
  Rebuttal Fed. R. Civ. P. 26(a)(2) disclosures and reports    11/21/2024
  Deadline for expert discovery to close                       12/13/2024
  MOTION FOR CLASS CERTIFICATION
  Deadline to file any class certification motion              12/20/2024
  Deadline to file opposition brief                             2/3/2025
  Deadline to file reply brief                                 2/18/2025
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  DISPOSITIVE MOTIONS
  1. Deadline for filing                                       2/4/2025
  2. Deadline for filing opposition                            3/4/2025
  3. Deadline to file replies                                  3/18/2025

 If the parties do not intend to file dispositive or potentially dispositive motions, a
 scheduling conference will be held for purposes of setting at trial date: 2/11/2025 at 2:00
 p.m.

 After the court issues an order on the summary judgment motion(s), if there is anything
 left to litigate, the court will set a scheduling hearing to set a trial date and to ask the
 parties if they want to mediate. If the schedule set forth herein is not extended, the parties
 can generally expect that trial will be set sometime during the 4th quarter of 2025.

 IT IS SO ORDERED

 Dated this 5th day of July, 2024

 BY THE COURT


                                                    ____________________________________
                                                    Dustin B. Pead
                                                    U.S. Magistrate Judge
